    Case 1:03-md-01570-GBD-SN                 Document 2319            Filed 09/27/10         Page 1 of 53




     UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF NEW YORK
__________________________________________
                                              )
                                              )
                                              ) 03 MDL 1570 (GBD)
                                              ) ECF Case
In re Terrorist Attacks on September 11, 2001 )
                                              )
                                              )
__________________________________________)

This document relates to: Ashton v. Al Qaeda Islamic Army 02-cv-06977

    DEFENDANT SANA-BELL, INC’S ANSWER TO PLAINTIFFS’ SIXTH AMENDED
                     CONSOLIDATED COMPLAINT 1

    1. Defendant admits only that on September 11, 2001, passenger jet airliners crashed into

        the World Trade Center Towers in New York, the Pentagon in Arlington County,

        Virginia, and a field near Shanksville, Pennsylvania. To the extent that these allegations

        relate to or implicate Defendant, Defendant denies these allegations. Regarding

        defendants other than Defendant, Defendant is without knowledge or information

        sufficient to form a belief about the truth of the remaining allegations, and therefore those

        allegations are denied.

    2. These allegations are conclusions of law to which no response is required. To the extent

        these allegations are deemed to require a response, they are denied.

    3. These allegations are conclusions of law to which no response is required. To the extent

        these allegations are deemed to require a response, they are denied.

    4. These allegations are conclusions of law to which no response is required. To the extent

        these allegations are deemed to require a response, they are denied.



1
 Note that each numbered paragraph in this answer corresponds with and responds to the paragraph in the Ashton v.
Al Qaeda Islamic Army Complaint bearing the same number.
Case 1:03-md-01570-GBD-SN           Document 2319         Filed 09/27/10      Page 2 of 53




5. Defendant admits only that on September 11, 2001, passenger jet airliners crashed into

   the World Trade Center Towers in New York, the Pentagon in Arlington County,

   Virginia, and a field near Shanksville, Pennsylvania. To the extent that these allegations

   relate to or implicate Defendant, Defendant denies these allegations. Regarding

   defendants other than Defendant, Defendant is without knowledge or information

   sufficient to form a belief about the truth of the remaining allegations, and therefore those

   allegations are denied.

6. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

7. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

8. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

9. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

10. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

11. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

12. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

13. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN           Document 2319         Filed 09/27/10      Page 3 of 53




14. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

15. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

16. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

17. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

18. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

19. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

20. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

21. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

22. Defendant admits only that on September 11, 2001, passenger jet airliners crashed into

   the World Trade Center Towers in New York, the Pentagon in Arlington County,

   Virginia, and a field near Shanksville, Pennsylvania. To the extent that these allegations

   relate to or implicate Defendant, Defendant denies these allegations. Regarding

   defendants other than Defendant, Defendant is without knowledge or information

   sufficient to form a belief about the truth of the remaining allegations, and therefore those

   allegations are denied.
Case 1:03-md-01570-GBD-SN           Document 2319         Filed 09/27/10    Page 4 of 53




23. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

24. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

25. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

26. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

27. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

28. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

29. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

30. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

31. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

32. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

33. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN           Document 2319         Filed 09/27/10    Page 5 of 53




34. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

35. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

36. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

37. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

38. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

39. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

40. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

41. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

42. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

43. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

44. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN           Document 2319         Filed 09/27/10    Page 6 of 53




45. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

46. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

47. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

48. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

49. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

50. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

51. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

52. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

53. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

54. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

55. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN           Document 2319         Filed 09/27/10    Page 7 of 53




56. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

57. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

58. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

59. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

60. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

61. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

62. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

63. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

64. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

65. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

66. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN           Document 2319         Filed 09/27/10    Page 8 of 53




67. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

68. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

69. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

70. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

71. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

72. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

73. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

74. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

75. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

76. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

77. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN           Document 2319         Filed 09/27/10    Page 9 of 53




78. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

79. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

80. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

81. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

82. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

83. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

84. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

85. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

86. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

87. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.

88. Defendant is without knowledge or information sufficient to form a belief about the truth

   of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10    Page 10 of 53




 89. Defendant is without knowledge or information sufficient to form a belief about the truth

    of these allegations, and therefore those allegations are denied.

 90. Defendant is without knowledge or information sufficient to form a belief about the truth

    of these allegations, and therefore those allegations are denied.

 91. Defendant is without knowledge or information sufficient to form a belief about the truth

    of these allegations, and therefore those allegations are denied.

 92. Defendant is without knowledge or information sufficient to form a belief about the truth

    of these allegations, and therefore those allegations are denied.

 93. Defendant is without knowledge or information sufficient to form a belief about the truth

    of these allegations, and therefore those allegations are denied.

 94. Defendant is without knowledge or information sufficient to form a belief about the truth

    of these allegations, and therefore those allegations are denied.

 95. Defendant is without knowledge or information sufficient to form a belief about the truth

    of these allegations, and therefore those allegations are denied.

 96. Defendant is without knowledge or information sufficient to form a belief about the truth

    of these allegations, and therefore those allegations are denied.

 97. Defendant is without knowledge or information sufficient to form a belief about the truth

    of these allegations, and therefore those allegations are denied.

 98. Defendant is without knowledge or information sufficient to form a belief about the truth

    of these allegations, and therefore those allegations are denied.

 99. Defendant is without knowledge or information sufficient to form a belief about the truth

    of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 11 of 53




 100.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 101.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 102.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 103.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 104.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 105.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 106.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 107.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 108.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 109.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 110.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 12 of 53




 111.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 112.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 113.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 114.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 115.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 116.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 117.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 118.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 119.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 120.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 121.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 13 of 53




 122.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 123.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 124.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 125.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 126.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 127.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 128.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 129.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 130.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 131.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 132.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 14 of 53




 133.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 134.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 135.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 136.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 137.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 138.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 139.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 140.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 141.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 142.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 143.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 15 of 53




 144.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 145.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 146.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 147.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 148.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 149.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 150.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 151.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 152.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 153.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 154.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 16 of 53




 155.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 156.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 157.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 158.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 159.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 160.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 161.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 162.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 163.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 164.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 165.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 17 of 53




 166.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 167.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 168.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 169.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 170.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 171.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 172.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 173.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 174.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 175.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 176.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 18 of 53




 177.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 178.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 179.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 180.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 181.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 182.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 183.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 184.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 185.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 186.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 187.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 19 of 53




 188.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 189.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 190.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 191.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 192.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 193.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 194.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 195.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 196.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 197.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 198.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 20 of 53




 199.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 200.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 201.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 202.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 203.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 204.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 205.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 206.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 207.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 208.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 209.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 21 of 53




 210.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 211.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 212.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 213.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 214.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 215.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 216.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 217.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 218.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 219.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 220.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 22 of 53




 221.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 222.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 223.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 224.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 225.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 226.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 227.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 228.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 229.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 230.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 231.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 23 of 53




 232.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 233.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 234.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 235.      Defendant admits that Sana-Bell, Inc. is a defunct and dissolved non-profit

    organization in the District of Columbia and that Sanabel Al Kheer, Inc. is a Virginia

    non-profit organization. Defendant also admits that it once owned a building located at

    360 S. Washington Street in Falls Church, Virginia. Defendant is without knowledge or

    information sufficient to form a belief about the truth of the remainder of these

    allegations, and therefore those allegations are denied.

 236.      Defendant denies that Mr. Bahfzallah, Mr. Mirza or Mr. Al Obaid are

    officers/directors of Sana-Bell, Inc. or Sanabel Al Kheer, Inc. Defendant is without

    knowledge or information sufficient to form a belief about the truth of the remainder of

    these allegations, and therefore those allegations are denied.

 237.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 238.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 239.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 24 of 53




 240.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 241.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 242.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 243.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 244.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 245.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 246.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 247.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 248.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 249.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 250.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 25 of 53




 251.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 252.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 253.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 254.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 255.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 256.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 257.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 258.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 259.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 260.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 261.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 26 of 53




 262.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 263.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 264.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 265.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 266.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 267.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 268.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 269.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 270.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 271.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 272.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 27 of 53




 273.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 274.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 275.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 276.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 277.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 278.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 279.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 280.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 281.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 282.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 283.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 28 of 53




 284.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 285.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 286.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 287.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 288.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 289.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 290.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 291.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 292.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 293.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 294.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 29 of 53




 295.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 296.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 297.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 298.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 299.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 300.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 301.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 302.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 303.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 304.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 305.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 30 of 53




 306.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 307.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 308.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 309.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 310.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 311.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 312.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 313.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 314.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 315.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 316.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 31 of 53




 317.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 318.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 319.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 320.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 321.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 322.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 323.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 324.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 325.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 326.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 327.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 32 of 53




 328.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 329.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 330.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 331.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 332.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 333.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 334.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 335.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 336.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 337.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 338.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 33 of 53




 339.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 340.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 341.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 342.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 343.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 344.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 345.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 346.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 347.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 348.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 349.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 34 of 53




 350.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 351.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 352.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 353.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 354.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 355.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 356.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 357.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 358.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 359.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 360.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 35 of 53




 361.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 362.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 363.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 364.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 365.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 366.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 367.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 368.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 369.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 370.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 371.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 36 of 53




 372.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 373.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 374.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 375.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 376.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 377.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 378.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 379.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 380.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 381.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 382.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 37 of 53




 383.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 384.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 385.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 386.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 387.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 388.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 389.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 390.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 391.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 392.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 393.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 38 of 53




 394.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 395.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 396.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 397.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 398.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 399.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 400.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 401.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 402.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 403.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 404.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 39 of 53




 405.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 406.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 407.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 408.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 409.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 410.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 411.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 412.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 413.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 414.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 415.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 40 of 53




 416.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 417.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 418.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 419.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 420.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 421.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 422.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 423.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 424.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 425.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 426.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 41 of 53




 427.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 428.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 429.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 430.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 431.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 432.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 433.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 434.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 435.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 436.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 437.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 42 of 53




 438.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 439.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 440.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 441.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 442.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 443.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 444.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 445.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 446.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 447.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 448.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 43 of 53




 449.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 450.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 451.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 452.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 453.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 454.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 455.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 456.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 457.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 458.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 459.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10         Page 44 of 53




 460.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 461.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.

 462.      Defendant is without knowledge or information sufficient to form a belief about

    the truth of these allegations, and therefore those allegations are denied.


                             COUNT I – WRONGFUL DEATH


 463.      Defendant incorporates its responses to the previous paragraphs by reference.

 464.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.

 465.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.

 466.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.

 467.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10     Page 45 of 53




    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.


        COUNT II – SURVIVAL DAMAGES BASED ON INTENTIONAL MURDER


 468.       Defendant incorporates its responses to the previous paragraphs by reference.

 469.       To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.

 470.       To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.

 471.       To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.


                         COUNT III – ASSAULT AND BATTERY


 472.       Defendant incorporates its responses to the previous paragraphs by reference.

 473.       To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10     Page 46 of 53




    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.

 474.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.

 475.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.


                COUNT IV – VIOLATION OF ANTI-TERRORISM ACT


 476.      Defendant incorporates its responses to the previous paragraphs by reference.

 477.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.

 478.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.

 479.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10     Page 47 of 53




    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.


                 COUNT V – TORTURE VICTIM PROTECTION ACT


 480.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.

 481.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.

 482.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.

 483.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.


  COUNT VI – ANTI-TERRORISM AND EFFECTIVE DEATH PENALTY CLAIM


 484.      Defendant incorporates its responses to the previous paragraphs by reference.
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10     Page 48 of 53




 485.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.

 486.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.

 487.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.

 488.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.

 489.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.

 490.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,
Case 1:03-md-01570-GBD-SN            Document 2319         Filed 09/27/10     Page 49 of 53




    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.


                         COUNT VII – PUNITIVE DAMAGES


 491.      Defendant incorporates its responses to the previous paragraphs by reference.

 492.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.


                          COUNT VIII – PROPERTY DAMAGE


 493.      Defendant incorporates its responses to the previous paragraphs by reference.

 494.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.

 495.      To the extent that these allegations relate to Defendant, Defendant denies these

    allegations. To the extent these allegations relate to defendants other than Defendant,

    Defendant is without knowledge or information sufficient to form a belief about the truth

    of the allegations, and therefore those allegations are denied.


           Defendant denies that Plaintiffs are entitled to recover from Defendant any of the

    relief requested in the WHEREFORE clause. To the extent the WHEREFORE clause
Case 1:03-md-01570-GBD-SN             Document 2319         Filed 09/27/10     Page 50 of 53




    relates to defendants other than Defendant, Defendant is without knowledge or

    information sufficient to form a belief about this clause and therefore it is denied.


                                 AFFIRMATIVE DEFENSES

 1. Defendant denies any claims in Plaintiffs’ Complaint and any accompanying documents

    not specifically admitted.

 2. Plaintiffs fail to state a claim for which relief can be granted.

 3. There is no causal connection between any of Defendant's activities and Plaintiffs'

    asserted injuries.

 4. No act or omission of any agent, servant, or employee of Defendant proximately caused

    any harm or damages to Plaintiffs.

 5. Plaintiffs fail to adequately allege scienter.

 6. This Court does not have personal jurisdiction over Plaintiffs’ claims against Defendant.

 7. This Court does not have subject matter jurisdiction over Plaintiffs’ claims against

    Defendant.

 8. Plaintiffs’ damages and injuries were caused by other individuals or entities who are, or

    are not, named as parties to this action.

 9. Defendant is not liable for Plaintiffs’ damages based on the doctrines of several liability

    and/or combined or comparative fault, see, e.g., N.Y. C.P.L.R. § 1601 et seq.

 10. Plaintiffs have waived their claims based on the doctrine disallowing double-recovery.

 11. Plaintiffs have waived their claims against Defendant.

 12. Plaintiffs have waived their claims based on the collateral source doctrine.

 13. Plaintiffs have waived their claims based on the doctrine of equitable subrogation.

 14. Plaintiffs have waived their claims based on the doctrine of subrogation.
Case 1:03-md-01570-GBD-SN             Document 2319         Filed 09/27/10        Page 51 of 53




 15. Plaintiffs’ claims have been waived to the extent that certain Plaintiffs are seeking

    recovery against Defendant for the same or similar claims in other civil actions

    comprising the multi-district entitled In re Terrorist Attacks on September 11, 2001, 03

    MDL 1570), pending in the United States District Court for the Southern District of New

    York.

 16. Plaintiffs' state-law claims are pre-empted by federal law.

 17. Plaintiffs' claims are barred by the Act of State doctrine.

 18. Plaintiffs' claims are barred based on principles of International Comity.

 19. Plaintiffs have released their claims against Defendant.

 20. Plaintiffs' claims are barred based on Sovereign Immunity.

 21. Defendant is a defunct and dissolved entity which cannot be sued or collected against

    under state and/or federal law.

 22. Plaintiffs' claims are barred by Political Question doctrine.

 23. Plaintiffs’ claims are barred based on principles of Immunity.

 24. Plaintiffs’ claims are barred by the doctrine of laches.

 25. Plaintiffs’ claims have been discharged in bankruptcy.

 26. Plaintiffs’ claims are barred by the doctrine of election of remedies.

 27. Plaintiffs have released their claims against Defendant.

 28. Plaintiffs have discharged their claims against Defendant.

 29. Plaintiffs’ claims are barred by the doctrine of compromise and settlement.

 30. Plaintiffs are precluded from asserting their claims by the doctrine of res judicata.

 31. Plaintiffs are precluded from asserting their claims by the doctrine of collateral estoppel.

 32. Plaintiffs lack standing to pursue their claims against Defendant.
Case 1:03-md-01570-GBD-SN              Document 2319         Filed 09/27/10    Page 52 of 53




 33. Plaintiffs’ claims are barred by the statute of limitations.

 34. Plaintiffs are estopped from receiving the relief requested against Defendant.

 35. Plaintiffs’ claims are invalid in light of workers’ compensation laws, regulations, rules,

    and case law.

 36. Plaintiffs’ claims are barred to the extent that they violate Defendant’s right to Due

    Process.

 37. Plaintiffs’ claims for punitive damages against Defendant are invalid because Defendant's

    activities, as alleged by Plaintiffs, were not committed with intent, malice, willful and

    outrageous conduct aggravated by evil motive, or reckless indifference, and none of

    Defendant's activities in any way were intended to, or did harm, the Plaintiffs in this

    action.

 38. In response to Plaintiffs’ claims, Defendant intends to invoke all other defenses,

    including affirmative defenses, that become apparent in the future (including through

    discovery), and reserve the right, in accordance with the Federal Rules of Civil Procedure

    and the Local Civil Rules of the United States District Court for the Southern District of

    New York, to assert such defenses at a later point in time.

 39. Defendant is a dissolved entity which cannot be sued or recovered from.

 40. Defendant Sanabel Al Kheer, Inc. is not a successor in interest or otherwise of Defendant

    Sana-Bell, Inc.


                                            Respectfully Submitted,

                                            MANNING SOSSAMON PLLC
                                            ____/s/_Christopher C. S. Manning___
                                            Christopher C. S. Manning
                                            1120 20th Street, NW, Suite 700N
                                            Washington, DC 20036
Case 1:03-md-01570-GBD-SN   Document 2319      Filed 09/27/10    Page 53 of 53




                                (202) 973-2681
                                (202) 973-1212
                                cmanning@manning-sossamon.com
                                Admitted Pro Hac Vice

                                Counsel for Defendant Sana-Bell, Inc. and
                                Sanabel Al Kheer, Inc.


                                Eurydice A. Kelley, Esq.
                                Rosenthal and Herman, P.C.
                                Graybar Building
                                420 Lexington Avenue
                                New York, New York 10170
                                (212) 370-4900 (main)
                                (212) 370-4902 (direct)
